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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

CASE NO.
Vv.
JOLY GERMINE, also known as Yonyon,
Filed Under Seal
ELIANDE TUNIS,
JOCELYN DOR, and
WALDER ST. LOUIS,
Defendants.
ORDER TO SEAL

Having considered the Government’s Motion to Seal the Indictment, Arrest Warrant, and
related paperwork (“Motion to Seal”), and for good cause stated therein, the Court makes the
following findings:

1. Sealing the Indictment, Arrest Warrant, the Motion to Seal, and this Order in the
above-captioned matter will further the legitimate prosecutorial interest in the safety of individuals
who may be impacted by publication of the Indictment.

2. The public docketing at this time of the Indictment, the Arrest Warrant, the Motion
to Seal, and this Order, could compromise the safety of individuals being held hostage by the
defendants’ unindicted coconspirators.

3. Accordingly, these facts present a legitimate basis for sealing the Indictment, the
Arrest Warrant, the Motion to Seal, and this Order to Seal.

Based on the foregoing findings of fact, the Motion is hereby
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GRANTED, and it is hereby

ORDERED that, in the above-captioned matter, pursuant to Federal Rule of Criminal
Procedure 6(e)(4), the Indictment, the Arrest Warrant, the Motion to Seal, and this Order to Seal
shall be sealed by the Clerk of the Court.

IT IS FURTHER ORDERED that, notwithstanding this Order to Seal, the Government
may disclose the Indictment, Arrest Warrant, and this Order to (1) appropriate U.S. and foreign
law enforcement officials and other officials and personnel to the extent that such disclosure is in
furtherance of national security or efforts to locate, arrest, detain, transfer, extradite, or expel the
defendant, and (2) the court, court officials, and defense counsel in this district or any other
appropriate district as necessary to conduct any court proceedings in that district.

It is FURTHER ORDERED that the Clerk’s office shall not make any entry on the public
docket in this case of the Indictment, Arrest Warrant, the Motion to Seal, and this Order to Seal
until further order of this Court.

It is FURTHER ORDERED that the Indictment and this Order to Seal shall be unsealed
upon oral motion of the Government to this Court or to any Court where the defendant is first
presented.

It is FURTHER ORDERED that the Clerk of the Court shall provide to the United States
Attorney’s Office certified copies of the Indictment, Arrest Warrant, and the instant Motion to Seal

and Order, upon request.

Date: November 30, 2021

ROBIN M. MERIWEATHER
UNITED STATES MAGISTRATE JUDGE
